         Case 1:20-cv-02645-NRB Document 14 Filed 10/19/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------X
HELAYNE SEIDMAN,

                   Plaintiff,
                                                              ORDER
             - against -
                                                        20 Civ. 2645(NRB)
AERIAL DESIGN BUILD SERVICES INC.,

               Defendant.
------------------------------------X
NAOMI REICE BUCHWALD
UNITED STATES DISTRICT JUDGE


     It having been reported to this Court that this case has been

settled, it is

     ORDERED that the above-captioned action be, and hereby is,

dismissed without costs and without prejudice to restoring the

action to this Court’s calendar if the application to restore the

action is made within 30 days.



DATED:       New York, New York
             October 19, 2020



                                    ________________________________
                                    NAOMI REICE BUCHWALD
                                    UNITED STATES DISTRICT JUDGE
